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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS                      Case No. 19 Civ. 11018 [rel. Nos. 19
HOLDINGS, LLC, and CONTRARIAN                         Civ. 3123 & 18 Civ. 11940]
FUNDS, L.L.C.,
                                                      Hon. Analisa Torres
                          Plaintiffs,

              v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                          Defendant.


             DECLARATION OF LEWIS B. SCHWARTZ IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       LEWIS B. SCHWARTZ declares as follows pursuant to 28 U.S.C. § 1746:

       1.     My name is Lewis B. Schwartz. I am the Chief Operating Officer of Contrarian

Capital Management, L.L.C., an investment adviser for certain investment funds and separately

managed accounts (the “Contrarian Funds”) that hold beneficial ownership of the bonds at issue.

Contrarian Capital Management, L.L.C., does not beneficially own the Bonds (as defined

below), but brings this suit to recover the due and unpaid principal and interest on the Bonds to

which the Contrarian Funds are entitled.
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       2.      I submit this Declaration based upon my personal knowledge of the transactions

set forth in this Declaration and upon my review of the books and records of Contrarian Capital

Management, L.L.C. I submit this declaration in support of Plaintiffs’ motion for summary

judgment. If called as a witness, I could and would testify competently to the matters set forth in

this Declaration.

       3.      Contrarian Capital Management, L.L.C., is a limited liability company organized

under the laws of the State of Delaware with its principal place of business in Greenwich,

Connecticut.

       4.      Contrarian Capital Fund I, L.P., is a limited partnership organized under the laws

of the State of Delaware with its principal place of business in Greenwich, Connecticut.

       5.      Contrarian Dome du Gouter Master Fund, LP, is a limited partnership organized

under the laws of Ontario, Canada with its principal place of business in Greenwich,

Connecticut.

       6.      Contrarian Capital Senior Secured, L.P., is a limited partnership organized under

the laws of the State of Delaware with its principal place of business in Greenwich, Connecticut.

       7.      Contrarian EM II, LP, is a limited partnership organized under the laws of the

State of Delaware with its principal place of business in Greenwich, Connecticut.

       8.      Contrarian Emerging Markets, L.P., is a limited partnership organized under the

laws of the State of Delaware with its principal place of business in Greenwich, Connecticut.

       9.      Polonius Holdings, LLC, is a limited liability company organized under the laws

of the State of Delaware with its principal place of business in Greenwich, Connecticut.




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        10.     Contrarian Funds, L.L.C., is a limited liability company organized under the laws

of Delaware with its principal place of business in Greenwich, Connecticut. Contrarian Funds,

L.L.C., is the parent of Polonius Holdings, LLC.

        11.     The “Contrarian Funds” comprise Contrarian Capital Fund I, L.P., Contrarian

Dome du Gouter Master Fund, LP, Contrarian Capital Senior Secured, L.P., Contrarian EM II,

LP, Contrarian Emerging Markets, L.P., Polonius Holdings, LLC, and Contrarian Funds, L.L.C.

The Contrarian Funds hold interests in accounts held by Polonius Holdings, LLC directly and

through a master participation agreement with Contrarian Funds, L.L.C. Contrarian Capital

Management, L.L.C., acts as an investment manager for each of the Contrarian Funds.

        12.     None of Plaintiffs, nor, to Plaintiffs’ knowledge, any of the beneficial owners of

any Plaintiff, is (a) the state and Government of Venezuela; (b) any political subdivision, agency,

or instrumentality thereof, including the Central Bank of Venezuela, Petróleos de Venezuela,

S.A., the National Bolivarian Armed Forces of Venezuela, and the Venezuelan Economic and

Social Development Bank; (c) any person owned or controlled, directly or indirectly, by the

entities listed in subsections (a) or (b); (d) any person who has acted or purported to act directly

or indirectly for, or on behalf of, the entities listed in subsections (a) or (b), including without

limitation any member of the Nicolás Maduro regime; (e) any “Senior Foreign Political Figure”

as defined in 31 C.F.R. § 1010.605(p) to the extent that the term “covered financial institution” in

that regulation is construed to refer to Plaintiffs; (f) any spouse, parent, sibling, child, or spouse’s

parent or sibling, of any natural person listed in subsections (a)-(e); or close associate of any

natural person listed in subsection (a)-(e).




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       13.      The Contn1rian Fllilds are beneficial owners of bonds issued by the Bolivarian

Republic of Venezuela (the "Bonds") under a 1998 Fiscal Agency Agreement (the " 1998 FAA")

and a 2001 Fiscal Agency Agreement (the "2001 FAA"). Specifically, the Contn1rian Fllilds

hold beneficial ownership in the following aggregate ammmts of the Bonds:


                                                                    Principal
                                                                                      Inter est
     Issue              ISIN         Date Due           FAA        Beneficially
                                                                                   Payment Dates
                                                                      Held

 13.625% 2018
                   US922646AT1 0    08/ 15/2018       1998 FAA      $20,680,000    Feb. 15; Aug. 15
  (-AT) Bonds

 13.625% 2018
                   USP9395PAA95     08/ 15/2018       2001 FAA      $25,319,000    Feb. 15; Aug. 15
  RegS Bonds

                                                       2001 FAA
    7.00%
                   USP97475AD26     12/01/2018        and Amend.    $55,814,000     June 1; Dec. 1
  2018 Bonds
                                                         No.1

    12.75%
                   USP17625AC16     08/23/2022                      $49,703 ,673   Feb. 23 ; Aug. 23
  2022 Bonds

    9.00%
                   USP17625AA59     05/07/2023                       $1,672,583     Nov. 7; May7
  2023 Bonds

    8.25%
                   USP97475AP55     10/ 13/2024                      $4,844,186    Oct. 13; Apr. 13
  2024 Bonds

    11.75%
                   USP17625AE71     10/21/2026         2001 FAA    $221,862,476    Oct. 21 ; Apr. 21
  2026 Bonds
                                                      and Amend.
    9.25%                                               Nos. 1-3
                   USP17625AB33     05/07/2028                       $2,650,675     Nov. 7; May7
  2028 Bonds

    11.95%
                   USP17625AD98     08/05/2031                      $50,315,563     Feb. 5; Aug. 5
  2031 Bonds




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       14.        Specifically, the following Contrarian Flmds beneficially own the following

quantities of Bonds:

          Issue                                   Plaintiff                     Quantity
      13.625% 2018
                                          Polonius Holdings, LLC                 $20,680,000
     (-ATlO) Bonds
      13.625% 2018
                                          Polonius Holdings, LLC                 $25,319,000
       RegS Bonds
   7.00% 2018 Bonds                       Polonius Holdings, LLC                 $55,814,000
                                   Contrarian Capital Senior Secured, L.P.          $179,000
                                     Contrruian Emerging Mru·kets, L.P.          $47,125,473
   12.75% 2022 Bonds
                                           Contrarian EM II, LP                   $2,399,200
                                         Total12.75% 2022 Bonds                  $49,703,673
                                     Contrruian Emerging Mru·kets, L.P.           $1 ,472,583
   9.00% 2023 Bonds                        Contrarian EM II, LP                     $200,000
                                         Total 9.00% 2023 Bonds                   $1,672,583
                                     Contrruian Emerging Mru·kets, L.P.           $4,499,186
   8.25% 2024 Bonds                        Contrarian EM II, LP                     $345,000
                                         Total 8.25% 2024 Bonds                   $4,844,186
                                   Contrarian Capital Senior Secured, L.P.        $1 ,319,000

                                       Contrarian Capital Flmd I, L.P.           $22,223,000
                                 Contrarian Dome du Gouter Master Fund, LP        $7,279,000
   11.75% 2026 Bonds
                                     Contrruian Emerging Mru·kets, L.P.         $169,386,476
                                           Contrarian EM II, LP                  $21 ,655,000
                                         Total 11.75% 2026 Bonds                $221,862,476
                                     Contrruian Emerging Mru·kets, L.P.           $2,395,675
   9.25% 2028 Bonds                        Contrarian EM II, LP                     $255,000
                                         Total 9.25% 2028 Bonds                   $2,650,675
                                     Contrruian Emerging Mru·kets, L.P.          $50,205,763
   11.95% 2031 Bonds                       Contrarian EM II, LP                     $109,800
                                         Total 11.95% 2031 Bonds                 $50,315,563




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       15.       Plaintiffs purchased the Bonds from institutional broker-dealers who are, or were

at the time Plaintiffs transacted with them for the Bonds, broker-dealers registered with the U.S.

Securities and Exchange Commission and regulated by FINRA.

       16.       Plaintiffs acquired the Bonds as buyers in the ordinary course of business.

       17.       Plaintiffs purchased the Bonds in good faith, for value, and without notice of any

adverse claim.

       18.       Plaintiffs paid a price within the range of market prices for each of the Bonds on

the day of the purchase.

       19.       Plaintiffs have performed all obligations they may have under the FAAs or any

Bonds issued pursuant to the FAAs.

       20.       Beginning in October 2017, Venezuela stopped making interest payments on the

Bonds. Since then, Venezuela has not made any of the interest payments required by the Bonds’

terms. Specifically, Venezuela has failed to make the following interest payments:

       (a)       13.625% 2018 Bonds:           Feb. 15, 2018, Aug. 15, 2018, Feb. 15, 2019,

                                               Aug. 15, 2019, and Feb. 15, 2020

       (b)       7.00% 2018 Bonds:             Dec. 1, 2017, June 1, 2018, Dec. 1, 2018,

                                               June 1, 2019, and Dec. 1, 2019

       (c)       12.75% 2022 Bonds:            Feb. 23, 2018, Aug. 23, 2018, Feb. 23, 2019,

                                               Aug. 23, 2019, and Feb. 23, 2020

       (d)       9.00% 2023 Bonds:             Nov. 7, 2017, May 7, 2018, Nov. 7, 2018,

                                               May 7, 2019, Nov. 7, 2019, and May 7, 2020

       (e)       8.25% 2024 Bonds:             Oct. 13, 2017, Apr. 13, 2018, Oct. 13, 2018,

                                               Apr. 13, 2019, Oct. 13, 2019, and Apr. 13, 2020




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       (f)    11.75%2026 Bonds:            Oct. 21 , 2017, Apr. 21 , 2018, Oct. 21 , 2018,

                                           Apr. 21, 2019, Oct. 21 , 2019, and Apr. 21 , 2020

       (g)    9.25% 2028 Bonds:            Nov. 7, 2017, May 7, 2018, Nov. 7, 2018,

                                           May 7, 2019, Nov. 7, 2019, and May 7, 2020

       (h)    11.95% 2031 Bonds:           Feb. 5, 2018, Aug. 5, 2018, Feb. 5, 2019,

                                           Aug. 5, 2019, and Feb. 5, 2020

       21.    Venezuela fmi her failed to pay the entire principal ammmt on the 13.625% 2018

(-AT10) Bonds and th e 13.625%2018 RegS Bonds when they became due on August 15, 2018.

       22.    Venezuela also failed to pay the entire principal amount on the 7.00%2018 Bonds

when it became due on December 1, 2018.

       23.    As a result of Venezuela's failure to fulfill its obligations lmder the 2001 FAA,

the 1998 FAA, and each of the Bonds beneficially held by Plaintiffs, as of May 10, 2020,

Venezuela owes Plaintiffs the following total amounts in unpaid interest and lmpaid principal

(not including lmpaid New York statut01y prejudgment interest):


                                        Accrued                               Accrued
                      Principal                           Overdue
      Issuance                          Coupon                            Coupon Inter est +
                      Amount                              Principal
                                        Inter est                         Overdue Principal


      13.625%
    2018 (-ATIO)    $20,680,000.00    $7,702,092.72     $20,680,000.00        $28,382,092.72
       Bonds


      13.625%
     2018 RegS      $25,319,000.00    $9,429,849.40     $25,319,000.00        $34,748,849.40
       Bonds

       7.00%
                    $55,814,000.00   $11,486,094.21     $55,814,000.00        $67,300,094.21
     2018 Bonds




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                                                      -                                    -




                                          Accrued                               Accrued
                       Principal                             Overdue
      Issuance                            Coupon                            Coupon Interest +
                       Amount                                Principal
                                          Interest                          Overdue Principal

       12.75%
                     $49,703,673.00     $17,183 ,611.18        NIA             $17,183,611. 18
     2022 Bonds

       9.00%
                      $1 ,672,583.00       $452,838.06         NIA                $452,838.06
     2023 Bonds


       8.25%
                      $4,844,186.00      $1,228,418.07         N/A              $1,228,418.07
     2024 Bonds

       11.75%
                    $221 ,862,476.00    $79,559,823.28         NIA             $79,559,823.28
     2026 Bonds

       9.25%
                      $2,650,675.00        $737,583.09         NIA                $737,583.09
     2028 Bonds

       11.95%
                     $50,315,563.00     $16,601,025.62         NIA             $16,601,025.62
     2031 Bonds

        Total       $432,862,156.00    $144,381,335.63    $101,813,000.00     $246,194,335.63


       24.      Excluding New York statut01y prejudgment interest, which accmes on each

missed interest payment, as of May 10, 2020, Venezuela owes Plaintiffs overdue principal and

interest payments on the Bonds amounting to $246,194,335.63. See Ex. 1 (interest worksheet).

       25.      Applying New York 's 9% statut01y prejudgment interest, which accmes on each

missed coupon payment, as of May 10, 2020, Venezuela's lmpaid coupon payments have

accmed prejudgment interest amounting to $ 15,863,903.87. See Ex. 1 (interest worksheet) .

       26.      Including New York statut01y prejudgment interest on missed interest payments,

as of May 10, 2020, Venezuela owes Plaintiffs overdue principal and interest payments on the

Bonds amounting to $262,058,239.50.




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I declare under penalty ofpetjury that the foregoing is true and correct.



Executed: May 13, 2020
New Rochelle, New York




                                           Lewis B. Schwar
                                           Chief Operating Officer
                                           Contrari an Capital Management, L.L.C.




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